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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                  Filed: May 16, 2019

* * * * * * * * * * * * * *
TIMOTHY MCCLUSKY,          *
                           *
     Petitioner,           *                         No. 17-841V
                           *                         Special Master Oler
v.                         *
                           *                         Attorneys’ Fees and Costs
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
            Respondent.    *
* * * * * * * * * * * * * *
Ronald C. Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.
Colleen C. Hartley, United States Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

       On June 21, 2017, Timothy McClusky (“petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34
(2012). Petitioner alleged that he developed Guillain-Barré syndrome (“GBS”) as a result of an
influenza (“flu”) vaccine he received on August 23, 2016. See Petition, ECF No. 1. On November
29, 2018, the parties filed a proffer, which the undersigned adopted as her Decision awarding
damages on December 7, 2018. Decision, ECF No. 40.

       On February 6, 2019, Petitioner filed an application for attorneys’ fees and costs. ECF No.
44 (“Fees App.”). Petitioner requests total attorneys’ fees and costs in the amount of $26,527.86,

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  The undersigned intends to post this Ruling on the United States Court of Federal Claims'
website. This means the ruling will be available to anyone with access to the Internet. In
accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical
or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, the undersigned agrees that the identified material fits within this
definition, the undersigned will redact such material from public access. Because this unpublished
ruling contains a reasoned explanation for the action in this case, the undersigned is required to
post it on the United States Court of Federal Claims' website in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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representing $24,909.00 in attorneys’ fees and $1,618.86 in attorneys’ costs. Fees App at 1-2.
Pursuant to General Order No. 9, Petitioner has indicated that he has personally incurred costs of
$7.45 in pursuit of this litigation. ECF No. 45. Respondent responded to the motion on February
6, 2019, indicating that “Respondent is satisfied the statutory requirements for an award of
attorneys’ fees and costs are met in this case” and requesting that the undersigned “exercise her
discretion and determine a reasonable award for attorneys’ fees and costs.” Resp’t’s Resp. at 2-3.
ECF No. 29. Petitioner did not file a reply thereafter.

       This matter is now ripe for consideration.

I.     Reasonable Attorneys’ Fees and Costs

         The Vaccine Act permits an award of reasonable attorneys' fees and costs. § 15(e). The
Federal Circuit has approved the lodestar approach to determine reasonable attorneys' fees and
costs under the Vaccine Act. Avera v. Sec'y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). This is a two-step process. Id. First, a court determines an “initial estimate ... by
‘multiplying the number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347–48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court may
make an upward or downward departure from the initial calculation of the fee award based on
specific findings. Id. at 1348.

        It is “well within the special master's discretion” to determine the reasonableness of fees.
Saxton v. Sec'y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec'y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys' fees and
costs.”). Applications for attorneys' fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec'y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum v. Stenson, 465 U.S. 886, 895 (1984). The “prevailing market rate”
is akin to the rate “in the community for similar services by lawyers of reasonably comparable
skill, experience and reputation.” Id. at 895, n.11. The petitioner bears the burden of providing
adequate evidence to prove that the requested hourly rate is reasonable. Id.

       a. Reasonable Hourly Rates

       The undersigned has reviewed the requested rates for the work performed by petitioner’s
attorneys (Ms. Meredith Daniels performed the majority of attorney work in this case, but Mr.
Ronald Homer, Mr. Joseph Pepper, Ms. Christina Ciampolillo, and Ms. Lauren Faga all
contributed work at various points in the litigation) and for other Conway, Homer, P.C. staff such
as paralegals and law clerks. The undersigned finds all of the requested rates to be reasonable
except for Mr. Pepper’s rate of $331.00 per hour for work performed in 2018. Fees. App. at 22.
Mr. Pepper has consistently been awarded $305.00 per hour for work performed in 2018
previously, and previously requests for $331.00 have thus been denied by other special masters.
See McMaster v. Sec’y of Health & Human Servs., No. 17-319V, 2019 WL 1958492, at *2 (Fed.


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Cl. Spec. Mstr. Mar. 8, 2019); Babb v. Sec’y of Health & Human Servs., No. 15-195V, 2019 WL
1375930, at *2 (Fed. Cl. Spec. Mstr. Feb. 28, 2019). Accordingly, this results in a reduction of
$20.80.

       b. Reasonable Hours Expended

         Attorneys' fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521 (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). Additionally, it is well-established that billing for
administrative/clerical tasks is not permitted in the Vaccine Program. Rochester v. United States,
18 Cl. Ct. 379, 387 (1989); Arranga v. Sec’y of Health & Human Servs., No. 02-1616V, 2018 WL
2224959, at *3 (Fed. Cl. Spec. Mstr. Apr. 12, 2018).

        The undersigned has reviewed the submitted billing entries and finds the number of hours
billed in this matter (128.9) to be mostly reasonable, only requiring reduction for minor time billed
on administrative tasks. Paralegals consistently billed time for preparation, review, and
organization of medical records for summarization and filing (e.g., entries on 4/4/17, 4/5/17,
6/5/17, 6/20/17, 6/29/17,7/10/17, 10/4/17, 7/11/18, 7/19/18, 8/21/18, and 10/29/18). Fees App. at
9-18. Billing for this task has resulted in reductions in the past. See McMaster, 2019 WL 1958492,
at *2; Estes v. Sec’y of Health & Human Ser, No. 17-1003, 2019 WL 1806241, at *2 (Fed. Cl.
Spec. Mstr. Mar. 4, 2019). Given that preparation for these records is a prelude to another paralegal
or law clerk summarizing the records and assessing their completeness, this work also borders on
work that is excessive, redundant, or otherwise unnecessary. Accordingly, the undersigned shall
reduce the final award of attorneys’ fees by $762.20 to account for these entries.

       c. Attorneys’ Costs

         Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $1,618.86 in attorneys’ costs. This amount consists of acquiring medical records, postage
charges, the Court’s filing fee, and travel costs associated with meeting with petitioner. Fees App.
at 20-22. Petitioner has provided adequate documentation of all these expenses and all are
reasonable in the undersigned’s experience. Accordingly, the requested costs shall be awarded in
full.

       d. Petitioner’s Costs

       Pursuant to General Order No. 9, petitioner asserts that he has personally incurred costs of
$7.45 for postage. This cost has been supported with documentation by petitioner and shall be
reimbursed.

II.    Conclusion

       In accordance with the Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), the undersigned has
reviewed the billing records and costs in this case and finds that petitioner’s request for fees and


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costs, except for the reductions noted above, is reasonable. Based on the above analysis, the
undersigned finds that it is reasonable to compensate petitioner and his counsel as follows:

    Attorneys’ Fees Requested                                        $24,909.00
    (Reduction to Hourly Rates)                                        ($20.80)
    (Reduction to Total Hours)                                        ($762.20)
    Total Attorneys’ Fees Awarded                                    $24,126.00

    Attorneys’ Costs Requested                                       $1,618.86
    (Reduction of Costs)                                                 -
    Total Attorneys’ Costs Awarded                                   $1,618.86

    Total Fees and Costs Awarded                                     $25,744.86

    Petitioner’s Costs Awarded                                          $7.45

    Total Amount Awarded                                             $25,752.31

         Accordingly, the undersigned awards the following:

      1) A lump sum in the amount of $25,744.86, representing reimbursement for reasonable
         attorneys’ fees and costs, in the form of a check payable jointly to petitioner and
         petitioner’s counsel of record, Mr. Ronald C. Homer; and

      2) A lump sum in the amount of $7.45, representing reimbursement for petitioner’s
         costs, in the form of a check payable to petitioner.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court shall enter judgment in accordance herewith.3

         IT IS SO ORDERED.

                                              s/Katherine E. Oler
                                              Katherine E. Oler
                                              Special Master




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  Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek
review. Vaccine Rule 11(a).
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